Case 2:20-cv-01362-MJP Document 55-4 Filed 10/08/21 Page 1 of 8




                EXHIBIT C
      Case
    Case    2:20-cv-01362-MJP Document
         2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                        201-3      10/08/21
                                                Filed        Page
                                                      11/20/15    2 of18of 7
                                                               Page



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA
_____________________________________
                                        )
GULF RESTORATION NETWORK,               )
et al.,                                 )
                                        )
        Plaintiffs,                     )
                                        ) Civil Action No. 2:12-cv-00677-JCZ-DEK
        v.                              )
                                        ) Section “A,” Division 3
GINA MCCARTHY, Administrator of         ) Hon. Jay C. Zainey, District Judge
the United States Environmental         ) Hon. Daniel E. Knowles, III, Magistrate Judge
Protection Agency, and the UNITED       )
STATES ENVIRONMENTAL                    )
PROTECTION AGENCY,                      )
                                        )
        Defendants.                     )
_____________________________________)

        DEFENDANT EPA’S COMBINED MEMORANDUM IN SUPPORT OF ITS
        CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT [REC. DOC. 198]



                            EPA EXHIBIT 2
         EPA’s July 2011 Decision Denying Gulf
     Restoration’s Rulemaking Petition (AR 1–6)
         Case
       Case    2:20-cv-01362-MJP Document
            2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                           201-3      10/08/21
                                                   Filed        Page
                                                         11/20/15    3 of28of 7
                                                                  Page


                         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                WASHINGTON, D.C. 20460




                                                           JUL2 9 2011
                                                                                                                        OFFICE OF
                                                                                                                         WATER
Kevin Reuther
Legal Director
Minnesota Center for
Environmental Advocacy
26 E. Exchange Street, Suite 206
St. Paul, MN 55101-1167

Albert Ettinger
53 W. Jackson Suite 1664
Chicago, IL 60604

Dear Mr. Reuther and Mr. Ettinger:

We have reviewed and considered your Jetter to Administrator Jackson from April 11 ,2011 , and
your Petition on behalf of thirteen organizations from July 30, 2008. This Jetter constitutes the
U.S. Environmental Protection Agency's (EPA) response to your letter and Petition. While the
EPA is in agreement with many of your environmental concerns, we are denying the petition for
the reasons explained below. We do not believe that the comprehensive use of federal
rulemaking authority is the most effective or practical means of addressing these concerns at this
time.

You request that the EPA conduct rulemaking to: (1) develop and promulgate numeric water
quality standards 1 for nutrients (i.e., nitrogen, phosphorus, chlorophyll a and turbidity) for all
navigable waters in all 50 states where such criteria do not already exist; (2) promulgate such
criteria for the Mississippi-Atchafalaya River Basin (MARB) and the northern Gulf of Mexico
(i.e., 31 states) in the alternative; and (3) promulgate the same numeric water quality standards
for nutrients in the states along the mainstem of the Mississippi River and the northern Gulf of
Mexico (i.e., 10 states) at a minimum. Your Petition also requests that the EPA establish total
maximum daily loads (TMDLs) for nitrogen (N) and phosphorus (P) for: (1) the mainstem of the
Mississippi River and every segment thereof; (2) the tributaries of the Mississippi River that do
not meet the criteria the EPA establishes for Nor P; (3) the portion of the contiguous zone within
the Gulf of Mexico; and (4) the portion of the ocean that is within the coverage of the Clean
Water Act (CW A) in the Gulf of Mexico.

The EPA agrees that N and P pollution presents a significant water quality problem facing our
nation. N and P pollution in both fresh and marine systems can significantly impact aquatic life
and long-term ecosystem health, diversity, and balance. More specifically, high Nand P

1
  Wherever the Petition requests that numeric nutrient water quality "standards" be promulgated, EPA understood
this to mean numeric nutrient criteria (NNC).

                                                                  1
                                                 Internet Address (URL) • http://Www.epa.gov
            Recycled/Recyclable • Printed with Vegetable Oil Based Inks on 100% Postconsumer, Process Chlorine Free Recycled Paper


                                                                                                                        EPA-MARB000001
      Case
    Case    2:20-cv-01362-MJP Document
         2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                        201-3      10/08/21
                                                Filed        Page
                                                      11/20/15    4 of38of 7
                                                               Page



loadings result in the increasing prevalence of harmful algal blooms, reduced spawning grounds
and nursery habitats, fish kills, and oxygen-starved hypoxic or "dead" zones. Public health
concerns related toN and P pollution include impaired surface and groundwater drinking water
sources from high levels of nitrates, formation of disinfection byproducts in drinking water, and
increased exposure of swi mmers to toxic microbes such as cyanobacteria_2.3 Lastly, degradation
of water bodies from N and P pollution and eutrophication can result in economic consequences,
such as increased costs for drinking water treatment, reduced property values for stream and
lakefront areas, commercial fishery losses, and lost revenue from recreational fishing, boating
trips, and other tourism-related businesses.


These concerns are nationwide in scope but have particular relevance to the Mississippi Basin,
where nutrient loadings to the Mississippi River and its tributaries are both harming upstream
water quality and contributing significantly to hypoxia (or the "dead zone") in the Gulf of
Mexico. Your Petition correctly identifies the Gulf "dead zone" and upstream Nand P pollution
as issues of serious concern.

As the Agency has previously recognized, reducing Nand P pollution is and should be a high
priority for EPA's water programs. On March 16, 20 II, EPA released a memorandum enti tied
" Working in Partnership with States to Address Phosphorus and Nitrogen Pollution through Use
                                                   4
of a Framework for State Nutrient Reductions" (Framework Memo). The Framework Memo
synthesizes key principles that guide Agency technical assistance and collaboration with states
and places a strong emphasis on working with states to achieve near-term reductions in nutrient
loadings. The Framework Memo includes recommended elements of a State Nutrients
Framework as a tool to guide ongoing collaboration between the EPA and states and among
federal, state, and local partners in our joint effort to make progress on reducing N and P
pollution. Development of numeric nutrient criteria is one aspect of this coordinated and
comprehensive approach.

We are taking several actions to provide technical assistance to states in the MARB for the
development of numeric nutrient criteria (NNC), including: (I) the analysis of state and national
data sets for setting nutrient thresholds; (2) the use of new data analysis tools; and (3) reviews of
the scientific defensibility of draft and proposed NNC. For example, Minnesota adopted
numeric phosphorus, chlorophyll a, and Secchi depth criteria for all lakes statewide in 2008. The
EPA worked closely with the State early in the process and during rulemaking by providing
technical input to ensure that the criteria were scientifically defensible. In 2010, Wisconsin
adopted numeric phosphorus criteria for rivers and lakes statewide and at the same time adopted
NPDES rules for implementation of those phosphorus criteria. The EPA similarly worked
closely with Wisconsin in providing both technical and programmatic guidance for the
development ofNNC for phosphorus, which the Agency recently approved, and for the
development ofNPDES implementation rules, which EPA is presently reviewing.


2
  Villanueva, C.M. eta/., 2006. Bladder Cancer and Exposure to Water Disinfection By-Products through Ingestion,
Bathing, Showering, and Swimming in Pools. American Journal of Epidemiology 165(2):148-156.
3
  USEPA. 2009. What is in Our Drinking Water?. United States Environmental Protection Agency, Office of Research
and Development. http:// www.epa.gov/extrmurl/research/process/ drinkingwater.html. Accessed December 2009
4
  http://water.epa.gov/scitech/swguidance/standards/criteria/nutrients/upload/memo_nitrogen_framework.pdf

                                                       2



                                                                                               EPA-MARB000002
          Case
        Case    2:20-cv-01362-MJP Document
             2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                            201-3      10/08/21
                                                    Filed        Page
                                                          11/20/15    5 of48of 7
                                                                   Page



The CW A and the EPA's implementing regulations at 40 CFR Part 131 require states and
authorized tribes to designate the use(s) for waters within their jurisdiction, and to adopt water
quality criteria to support and protect those uses. The EPA has provided to states and authorized
tribes guidance, technical assistance, and publications of recommended criteria for pollutants,
including Nand Pat the ecoregionallevel. 5 The EPA has also published a number of guidance
documents outlining different approaches for developing NNC by waterbody type. 6 The EPA
continues to be engaged and committed to providing the most current scientific information to
strengthen the underlying rationale and defensibility of the criteria development process. Some
of these efforts have included, but are not limited to: ( 1) the publication of an additional NNC
development technical support document on use of stressor-response approaches;7 (2) providing
technical support to MARB states to develop NNC through N-STEPS 8 (Nutrient Scientific,
Technical Exchange, Partnership and Support); (3) continuing to strengthen and communicate
the science that supports NNC development to state water quality agencies and the public;9 (4)
consulting with the EPA's Science Advisory Board regarding scientific methods to develop
numeric nutrient criteria; 10 and (5) engaging with state coalition efforts to advance NNC
development. 11

The EPA is also improving its tracking, accountability and transparency tools to measure state
progress towards developing and adopting N and P criteria. The EPA has established three new
measures addressing proposal and adoption ofN and P criteria for states and territories for the
following major waterbody types: ( 1) lakes and reservoirs (excluding the Great Lakes); (2)
rivers and streams; and (3) estuaries. 12 The first two cumulative measures indicate state progress
from year to year. Under the first measure, a state receives credit when it adopts anN or P
criterion that covers an entire major waterbody type; the EPA must approve each criterion in
order to receive the credit. Similarly, the second measure gives credit for each N or P criterion a
state propose/ 3 for each major water type. The third measure indicates whether a state is
providing current and specific milestone information regarding N and P criteria adoption for
three or more waterbody types. Complete details for these accountability measures are included
within the EPA's National Water Program Guidance. 14


5
  http://water .epa .govI scitech/swgu idance/standards/criteria/nutrients/ ecoregions/index .cfm
6
  http://water. epa .govI scitech/swgu ida nee/standards/ criteria/nutrients/ gu ida nee_index. cfm
7
  http://water .epa .gov/scitech/swgu idance/standards/criteria/nutrients/upload/fi na lstressor2010. pdf
8
  http:/ /n-steps.tetratech-ffx.com/
9
  http://water.epa .gov/scitech/swguidance/sta nda rds/ criteria/nutrients/, http:/In-steps. tetra tech-ffx.com/
10
   http ://yosemite. epa .govI sa b/ sa b product. nsf/9 5eac603 7d bee07 585 25 73 a0007 5 f73 2/597 2e 2a 884 64d45e85 25 75
91006649dO!OpenDocument;
http:/ /yosemite.epa. govI sa b/ sa bprod u ct. nsf/fed rgstr_ activites/ FL%20 Estu a ri es%20TSD?0 pen Document
11
   http:/ /www.gulfofmexicoalliance.org/index.php, http://www.neiwpcc.org/, http://www .orsanco.org/
12
   http:/ /water.epa .gov/aboutow /goals_objectives/waterpla n/def_ wq 11.cfm#WQ-1
13
    "Proposed (in WQ-1b) by states and territories means that a state or territorial agency has either (a) proposed
and published the criteria for public comment, (b) formally provided the criteria for review to a legislative body,
legislative committee, public commission, or similar body as part of a prescribed regulatory process, (c)
recommended the criteria to a legislature, public commission, or agency responsible for promulgating standards
under its own public process, or (d) otherwise issued the draft criteria to begin a similar public process. For federal
promulgations, proposed means that EPA has issued a Federal Register notice of proposed rulemaking that seeks
public comment."
14
   http://water .epa .gov/aboutow/goals_objectives/waterpla n/def_ wq ll.cfm #WQ-1

                                                              3



                                                                                                              EPA-MARB000003
       Case
     Case    2:20-cv-01362-MJP Document
          2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                         201-3      10/08/21
                                                 Filed        Page
                                                       11/20/15    6 of58of 7
                                                                Page



In addition to working with upstream states in the MARB, EPA is playing a lead role in
addressing Gulf Hypoxia. The EPA Administrator chairs the Gulf Coast Ecosystem Restoration
Task Force. The Task Force was created by President Obama through Executive Order 13554, is
comprised of five Gulf states and 11 federal organizations, and is charged with developing a
restoration strategy that proposes a Gulf Coast ecosystem restoration agenda that could
potentially address a range of priority water quality issues, including Gulf Hypoxia. The EPA
also co-chairs the Mississippi River/GulfofMexico Watershed Nutrient Task Force (Gulf
Hypoxia Task Force), which is comprised of 17 state and federal agencies. The GulfHypoxia
Task Force provides a forum for state water quality and agriculture agencies to partner on local,
state, and regional efforts to mitigate nutrient loading, encouraging a holistic approach that takes
into account upstream sources and downstream impacts. The federal agency partners on the
Task Force are providing coordinated support as states move forward to develop nutrient
reduction strategies/state frameworks for managing N and P pollution in the MARB.

Finally, the EPA continues to work with USDA and USGS to foc us on achieving water quality
goals throughout the Mississippi River watershed and in the Gulf of Mexico. These federal
agencies are collectively working to coordinate implementation of projects funded under the
USDA Natural Resource Conservation Service's "Mississippi River Basin Initiative" (MRBI)
with the goals and implementation strategies of CWA section 319 watershed plans, TMDLs, and
other relevant state plans. The EPA, USDA, and USGS are also targeting monitoring investments
to best assess water quality trends and demonstrate water quality improvements. Examples of
watersheds where the EPA and USDA are coordinating with local groups to reduce nitrogen and
phosphorus loadings are the Root River Watershed in Minnesota and the Wabash River
Watershed in Ohio and Indiana. Stewardship initiatives in these areas are coordinating across
multiple USDA agencies, state agencies, the EPA, and other stakeholders to target
implementation of suites of best management practices to achieve significant reductions inN and
P pollution.

The EPA believes that the most effective and sustainable way to address widespread and
pervasive nutrient pollution in the MARB and elsewhere is to build on these efforts and work
cooperatively with states and tribes to strengthen nutrient management programs. This approach,
in the Agency's judgment, is preferable to undertaking an unprecedented and complex set of
rulemakings to promulgate federal NNC for a large region (or even the entire country). The
development ofNNC for 50, 31 or 10 states at one time would be highly resource and time
intensive and involve the EPA staff across the entire Agency, as well as support from technical
experts outside the Agency. The Agency would need to develop a technical record for each
affected state, a task of substantial magnitude in light of the need for thorough review and
analysis of state water quality data and the frequency and severity of nutrient-related impacts.
Completing the rulemaking process would pose a daunting management challenge given the
complexity of the technical issues, large volume of comments from stakeholders and local
governments, and the need for the Agency to respond to the array of comments filed. Following
rulemaking, implementation of federal standards simultaneously in multiple states would
likewise place sizable regulatory and oversight burdens on the EPA, as well as affected states.
Therefore, the Agency believes that the use of its rulemaking authority, especially in light of the
sweeping scope of the Petition, is not a practical or efficient way to address nutrients at a
national or regional scale.


                                                 4



                                                                                       EPA-MARB000004
            Case
          Case    2:20-cv-01362-MJP Document
               2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                              201-3      10/08/21
                                                      Filed        Page
                                                            11/20/15    7 of68of 7
                                                                     Page



That is not to say that the EPA's authority to promulgate federal NNC is not a useful tool that
may have a role to play in nutrient management initiatives. The EPA has used this authority in
one recent instance (Florida) to develop federal NNC and retains its discretion to use it
elsewhere, as appropriate. However, long-standing policy, consistent with the CWA, has been
that states should develop and adopt standards in the first instance, with the EPA using its own
rulemaking authority only in cases where it disapproves a new or revised standard, or
affirmatively determines that new or revised standards are needed to meet CWA requirements.
While the EPA may at some future time use its authority in response to specific circumstances,
the EPA's current approach, consistent with the CWA and Agency policy, is to address Nand P
pollution and accelerate state adoption ofNNC by working in partnership with states and
stakeholders to reduce nutrient loadings from both point and non-point sources.

The petition also asks that the EPA take the significant step of establishingfederal N and P
TMDLs for the entire Mississippi River mainstem, all the mainstem's impaired tributaries, and
certain portions of the Gulf of Mexico. Generally, the development of lists of impaired waters
and TMDLs, and the submission of those lists and TMDLs to EPA for review and approval , is
the responsibility ofthe states. CWA section 303(d); 40 CFR section 130.7(b) ( 1); 40 CFR
section 130.7(c) (I); 40 CFR section 130.7(d) . As is the case with water quality standards, the
EPA has broad discretion regarding coordination and oversight of state development of impaired
waters lists and TMDLs. For the MARB waters at issue, the EPA believes that the best use of its
resources and personnel is to provide national technical and policy guidance regarding impaired
waters listing and TMDL development associated with nutrient pollution, working in partnership
with states and stakeholders at both the national and Regional level to reduce nutrient loadings
from both point and non-point sources.

The 31 MARB states have been quite active in addressing their CWA section 303(d) listing and
TMDL responsibilities for nutrient-impaired waters. Ofthe 71,000 303(d) List impairments
nationally, 15,305 (2 1%) can be categorized as nutrient-related. 15 The 31 MARB states have
listed over 10,000 nutrient-related impairments throughout the MARB. Of the 44,400 TMDLs
nationally, 8,009 ( 19%) can be categorized as nutrient-related. All of the 3 1 MARB states have
developed TMDLs to address nutrient-related causes of impairment. Over 5,000 nutrient-related
TMDLs have been completed throughout the 3 1 MARB states at levels necessary to attain and
maintain the applicable narrative and numeric water quality standards. Of these approximately
5,000 TMDLs, the 31 MARB states developed over 4,400 nutrient-related TMDLs, and the EPA
established 682 nutrient-related TMDLs. There are likely many waters in the MARB that have
yet to be assessed by the states for nutrient impairment. The EPA believes that collaborative
national technical and policy support to listing and TMDL development, along with targeted
state and regional efforts, is a more sustainable and likely successful approach in achieving
nutrient reductions in the near and longer term than the EPA unilaterally developing impaired
waters lists and TMDLs for multiple states at one time.




15
     Note that "nutrient-related" is defined as including the following parent impairment categories in EPA's
Assessment, TMDL Tracking and Implementation System (http://www.epa.gov/waters/ir/): nutrients, organic
enrichment/oxygen depletion, noxious plants, algal growth, and ammonia . Database accessed on March 29,
2011.

                                                            5



                                                                                                        EPA-MARB000005
       Case
     Case    2:20-cv-01362-MJP Document
          2:12-cv-00677-JCZ-DEK Document55-4 Filed
                                         201-3      10/08/21
                                                 Filed        Page
                                                       11/20/15    8 of78of 7
                                                                Page




For the above reasons, and after careful consideration of the issues you raised and actions you
requested, the EPA is hereby denying the Petition. In taking this action, the EPA is not
determining that NNC are not necessary to meet CWA requirements with respect to the waters
you identified. Rather, in this petition response, EPA is exercising its discretion to allocate its
resources in a manner that supports targeted regional and state activities to accomplish our
mutual goals of reducing N and P pollution and accelerating the development and adoption of
state approaches to controlling Nand P. 16

The EPA agrees that N and P pollution is a significant water quality problem in the MARB and
northern Gulf of Mexico. The EPA also recognizes that nutrient over-enrichment and
eutrophication is a national problem that requires state action with strong technical support and
oversight from the EPA. As an important national priority, the EPA is strongly committed to
working in partnership with other federal agencies, state and local agencies, and other
stakeholders in promoting the development and adoption of effective nutrient controls and
developing TMDLs where they are needed. The EPA will periodically assess progress and, as
provided in the Framework Memo, is not foreclosing the possibility that there may be
circumstances where, despite the best efforts of all , Agency action may be appropriate and the
EPA could exercise its CWA section 303(c)(4)(B) authority.

                                                      Sincerely,


                                                      PJ!~
                                                      Michael H. Shapiro
                                                      Deputy Assistant Administrator




16
  EPA lacks clear legal authority to promulgate NNC for the contiguous zone of U.S. coastal waters, i.e., the portion
of the Gulf of Mexico beyond the territorial sea, which is requested in the Petition. These waters are not
considered navigable waters or Waters of the U.S. under CWA sections 303(c) and 502.

                                                          6


                                                                                                    EPA-MARB000006
